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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 PRESIDENT AND FELLOWS OF HARVARD
 COLLEGE,

        Plaintiff,
                                                            Case No. 1:25-cv-11472-ABD
        v.

 DEPARTMENT OF HOMELAND SECURITY,
 et al.,

        Defendants.


            SUPPLEMENTAL DECLARATION OF STEVEN P. LEHOTSKY
               IN SUPPORT OF PLAINTIFF’S EMERGENCY MOTION
                   FOR A TEMPORARY RESTRAINING ORDER

I, Steven P. Lehotsky, declare as follows:

       1.      I am a partner at the law firm of Lehotsky Keller Cohn LLP and represent the

President and Fellows of Harvard College (“Harvard” or “Plaintiff”) in this matter. I make this

supplemental declaration in support of Plaintiff’s Emergency Motion for a Temporary Restraining

Order. I have personal knowledge of the contents of this declaration and could testify thereto.

       2.      This declaration supplements my prior declaration in this matter, ECF No. 4-3, and

specifically addresses new exhibits attached to the Amended Complaint but not the original

Complaint. For ease of reference, Exhibits 1 through 28 for the Amended Complaint are the same

as Exhibits 1 through 28 attached to the original Complaint, and those exhibits were verified in my

original declaration, ECF No. 4-3, and I reincorporate those verifications here.

       3.      Attached to the Amended Complaint as Exhibit 29 is a true and correct copy of

President Donald J. Trump’s post to the website Truth Social on May 26, 2025, at 8:27 AM EST,

also available online at https://truthsocial.com/@realDonaldTrump/posts/114574126417705588.


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       4.      Attached to the Amended Complaint as Exhibit 30 is a true and correct copy of

President Donald J. Trump’s post to the website Truth Social on May 26, 2025, at 8:42 AM EST,

also available online at https://truthsocial.com/@realDonaldTrump/posts/114574185207174304.

       5.      Attached to the Amended Complaint as Exhibit 31 is a true and correct copy of an

article titled, “White House convenes meeting to brainstorm new Harvard measures,” published

by   POLITICO       on    May     29,   2025.    The    article   is   also   available   online    at

https://www.politico.com/news/2025/05/30/white-house-convenes-meeting-to-brainstorm-new-

harvard-measures-00376782.

       6.      Attached to the Amended Complaint as Exhibit 32 is a true and correct copy of an

article titled, “Universities quietly negotiating with White House aide to try to avoid Harvard’s

fate, source says,” published by CNN on May 31, 2025. The article is also available online at

https://www.cnn.com/2025/05/31/politics/universities-negotiate-trump-administration-harvard.

       7.      Attached to the Amended Complaint as Exhibit 33 is what has been publicly

reported as the content of the May 30, 2025, cable issued by the Department of State with the

subject line, “ACTION REQUEST – Enhanced vetting for All Nonimmigrant Visa Applicants

Traveling to Harvard University.”

       8.      Attached to the Amended Complaint as Exhibit 34 is a true and correct copy of an

article titled, “State begins rolling out expanded student vetting – starting with Harvard,” published

by   POLITICO       on    May     30,   2025.    The    article   is   also   available   online    at

https://www.politico.com/news/2025/05/30/state-implements-reviews-of-harvard-visa-

applicants-social-media-accounts-00375921.

       9.      Attached to the Amended Complaint as Exhibit 35 is a true and correct copy of the

Presidential Proclamation issued by President Donald J. Trump on June 4, 2025, titled, “Enhancing

National Security by Addressing Risks at Harvard University.” The Proclamation is also available


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online at https://www.whitehouse.gov/presidential-actions/2025/06/enhancing-national-security-

by-addressing-risks-at-harvard-university/.

        10.     Attached to the Amended Complaint as Exhibit 36 is a true and correct copy of the

White House webpage titled, “Fact Sheet: President Donald J. Trump Restricts Foreign Student

Visas    at   Harvard    University.”    The     Fact   Sheet     is    also   available   online   at

https://www.whitehouse.gov/fact-sheets/2025/06/fact-sheet-president-donald-j-trump-restricts-

foreign-student-visas-at-harvard-university/.

        11.     Attached to the Amended Complaint as Exhibit 37 is a true and correct copy of the

press release titled, “HKUST Opens Doors to Harvard Students Amid Global Academic Shifts,”

published     on   May   23,   2025.    The     press   release    is   also   available   online   at

https://www.prnewswire.com/news-releases/hkust-opens-doors-to-harvard-students-amid-global-

academic-shifts-302464079.html.


Executed this 5th day of June 2025, in West Newton, Massachusetts.




                                                Steven P. Lehotsky




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